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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

SAFE SKIES CLEAN WATER                               )
      WISCONSIN, INC.,                               )
                                                     )
       Plaintiff,                                    )
                                                     )
               v.                                    )      Case 1:21-cv-00634-CKK
                                                     )
UNITED STATES AIR FORCE, et al.,                     )
                                                     )
       Defendants.                                   )

                        ORDER GRANTING PLAINTIFF’S MOTION
                             FOR SUMMARY JUDGMENT

       The Court, having considered Plaintiff’s Motion for Summary Judgment and the

arguments in opposition, hereby ORDERS that Plaintiff’s Motion is GRANTED. The Court:

1.     Declares that:

       A.      Defendants, in issuing an EIS and ROD, failed to comply with NEPA by having a

predetermined outcome;

       B.      Defendants failed to take a hard look at detrimental noise impacts in violation of

NEPA and its implementing regulations;

       C.      Defendants violated NEPA by failing to adequately consider the cumulative

impacts of increased PFAS on already-polluted drinking, ground surface water and fish in the

Starkweather Creek and Yahara chain of lakes watersheds water;

       D.      Defendants violated NEPA by failing to adequately consider environmental

justice impacts in violation of NEPA and its implementing regulations;

       E.      Defendants violated NEPA by failing to take a hard look at air quality impacts of

the F-35As;

       F.      Defendants violated NEPA by failing to adequately address alternatives;



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       G.      Defendants violated NEPA by failing to adequately consider climate change;

       H.      Defendants violated NEPA and the APA by failing to provide adequate notice and

public participation;

       I.      Defendants violated NEPA and the APA by failing to produce a Supplemental

Environmental Impact Statement;

       J.      Defendants violated NEPA by failing to take a hard look at impacts on wildlife in

violation of NEPA and its implementing regulations;

       K.      Defendants violated the APA by failing to comply with NEPA; and

       L.      Defendants’ actions and proposals are arbitrary, capricious, an abuse of

discretion, in excess of statutory jurisdiction, authority, and limitations, without observance of

procedure required by law, unsupported by substantial evidence and unwarranted by the facts, in

violation of the APA; and

2.     Enjoins the defendants and all others acting in concert with them from carrying on or

permitting any activities in furtherance of the construction of the Proposed Action until such time

as the defendants prepare an adequate EIS and a supplemental EIS, the sufficiency of the

environmental impact statements to be determined by this Court; and

3.     Awards Plaintiff such other and further relief as the Court may deem just and proper,

including costs, attorneys’ fees, expert witness fees and other expenses of litigation.



Dated: ____________________________                   ____________________________
                                                      COLLEEN KOLLAR KOTELLY
                                                          U.S. DISTRICT JUDGE

Copies to:

Kathleen Henry (D.C. Bar No. MO0001)
Dairyland Public Interest Law



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